                         Case 24-15532-CLC                              Doc         Filed 12/18/24         Page 1 of 2
 Fill in this information to identify the case:
 Debtor 1                   _Yasser Boza Diaz

 Debtor 2
 (Spouse, if filing)        ________________________________________

 United States Bankruptcy Court for the:__Southern_____             District of __FL_____
                                                                              (State)

 Case Number _24-15532-CLC________________________
Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                  12/16
If the debtor’s plan provides for payment of post-petition contractual installments on your claims secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that
you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
Name of creditor: US BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS Court claim no. (if known): 6
INDIVIDUAL CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR VRMTG
ASSET TRUST

Last four digits of any number you use to
identify the debtor's account:  4613

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
:             No
9             Yes. Date of the last notice:

 Part 1:               Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an
 amount, indicate that approval in parentheses after the date the amount was incurred.
 Description                                                                            Dates incurred                   Amount
 1. Late charges                                                                                                                           (1) $
 2. Non-sufficient funds (NSF) fees                                                                                                        (2) $
 3. Attorney fees: “Safe Harbor Fee”: Preparing and filing a proof of claim             06/26/2024, 08/09/2024                      (3) $525.00
 on behalf of a secured creditor. Review of Chapter 13 Plan. Objection to
 Chapter 13 Plan. Monitoring the case for any pleading and/or activity that
 may impact a secured creditor’s claim prior to confirmation.**
 4. Filing fees and court costs                                                                                                            (4) $
 5. Bankruptcy/Proof of claim fees                                                                                                         (5) $
 6. Appraisal/Broker's price opinion fees                                                                                                  (6) $
 7. Property inspection fees                                                                                                               (7) $
 8. Tax advances (non-escrow)                                                                                                              (8) $
 9. Insurance advances (non-escrow)                                                                                                        (9) $
 10. Property preservation expenses. Specify:                                                                                             (10) $
 11. Other. Specify:                                                                                                                      (11) $
 12. Other. Specify:                                                                                                                      (12) $
 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11 U.S.C. §1322(b)(5) and
 Bankruptcy Rule 3002.1.




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Debtor 1 _Yasser Boza Diaz      Case 24-15532-CLC                  Doc        Filed 12/18/24    Page
                                                                                       Case number        2 of_24-15532-CLC_______________
                                                                                                   (if known)   2

 Part 2:      Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.
 9         I am the creditor.
 :         I am the creditor's authorized agent. (Attach copy of power of attorney, if any.)
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and
 reasonable belief.

  I declare under penalty of perjury that the information provided in this claim is true and correct and to the best of my knowledge, information,
 and reasonable belief and is specifically based upon the Creditor's pre-filing verification and approval of the content of this notice of post-petition
 fees.
                      /s/ George Zamora                                                        Date December 18, 2024
                      Signature


 Print:               George Zamora                                                            Title Attorney



 Company              Kass Shuler, P.A.

                      1505 N. Florida Ave.
                      Tampa, FL 33602-2613



 Contact phone        (813) 229-0900      Email gzamora@kasslaw.com

                                                           CERTIFICATE OF SERVICE
          I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on December 18, 2024, by U.S. Mail and/or electronic
mail via CM/ECF to: Yasser Boza Diaz, 8090 W 18TH LANE RD, Hialeah, FL 33014; Yoelexys Figueroa at his/her place of abode, 8090 W 18TH
LANE RD, Hialeah, FL 33014; Jose A. Blanco 102 East 49th Street, Hialeah, FL 33013; Nancy K. Neidich, Trustee P.O. Box 279806, Miramar, FL
33027-9806; Office of the United States Trustee 51 Southwest First Avenue, Suite 1204, Miami, FL 33130.



                                                                                  /s/ George Zamora
                                                                                  George Zamora


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